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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



IN RE EQUIFAX, INC. CUSTOMER                    MDL DOCKET NO. 2800
DATA SECURITY BREACH                            1:17-md-2800-TWT
LITIGATION
                                                CONSUMER CASES


          MOTION FOR IMMEDIATE INJUNCTIVE RELIEF TO
              PREVENT EVASION AND VIOLATION OF
            THIS COURT’S JURISDICTION AND ORDERS
            WITH SUPPORTING LEGAL MEMORANDUM

      From the start of this MDL, this Court expressed concern that firms not

selected for a leadership position, if unrestrained, would seek compensation for work

that did not benefit the class including work associated with filing serial complaints

before the MDL’s formation. Guided by the Court’s directives, Co-Lead Counsel

issued timekeeping protocols that were submitted to the Court and provided to all

plaintiffs’ firms, including firms that filed cases in the MDL but were not selected

for leadership. The protocols made clear pre-appointment time would not be

considered (except in very limited circumstances), and future work in the MDL

would be limited to tasks expressly authorized by Co-Lead Counsel.

      Sanford Heisler Sharp, LLP (“Sanford”) was one of those firms that
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unsuccessfully applied for a leadership position and was provided the billing

protocol shortly after Co-Lead Counsel were appointed. Along with 47 other non-

leadership law firms that represented one or more of the 96 class representatives,

Co-Lead Counsel requested that Sanford assist in a limited capacity in the MDL by

working with its clients who were named as plaintiffs in the operative amended

complaint, and the firm was allocated a small share of the fee for its modest efforts.

       More than three years after being informed of its approved hours and lodestar

and eight months after the fee award was allocated and distributed to participating

firms, Sanford made the extraordinary claim that it was entitled to five percent of

the entire $77.5 million award largely because the firm allegedly worked more than

3,400 hours, interviewed 12,000 potential plaintiffs, and filed 45 separate complaints

before its leadership application was denied. Co-Lead Counsel rejected the claim,

which violated governing Court orders and protocols in this MDL, and told Sanford

that, if still dissatisfied, it should seek relief with this Court, which expressly retained

jurisdiction over such disputes.

       Instead of requesting relief from this Court, Co-Lead Counsel have learned

that on February 6, 2023 Sanford sued them in a Tennessee state court on the bizarre

theory that Tennessee common law dictates it should have received a larger share of

the Equifax fee, notwithstanding that the suit seeks compensation for thousands of


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hours of time that was never authorized, reported to Co-Lead Counsel, or approved

by this Court in violation of the orders and protocols that governed its work in the

MDL. According to Sanford, by denying its fair share, Co-Lead Counsel committed

torts and breached an implied contract, authorizing a jury to award Sanford

compensatory damages exceeding $1 million and unspecified punitive damages or,

alternatively, to disgorge some of the fees that Co-Lead Counsel received.

      The Tennessee suit is a blatant attempt to dodge this Court’s jurisdiction,

evade the Court’s orders restricting the role and compensation of non-leadership

firms, and substitute a Tennessee jury’s judgment for that of this Court regarding

what time is compensable in the MDL. Co-Lead Counsel thus seek appropriate

relief, namely issuance of a permanent injunction under the All-Writs Act directing

Sanford and all those acting with it to dismiss the Tennessee action and take no

further steps to challenge its share of Equifax fee in any forum except this Court. If

the Tennessee action is allowed to proceed, Co-Lead Counsel will be forced to retain

Tennessee counsel and incur substantial costs defending claims that logically and

legally should be resolved here. Co-Lead Counsel request that, subject to its

calendar, the Court schedule a hearing on this motion as soon as practicable.




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                          FACTUAL BACKGROUND

      A.     The Court’s Leadership Order and Co-Lead Counsel’s Directives
             Governing Non-Leadership Firms

      From the outset, this Court made clear its intent regarding the role and

compensation of firms that were not appointed to leadership positions. The issue

was first discussed at the February 9, 2018 hearing during which this Court heard

leadership applications, a discussion that was triggered by Judge Koh’s comments

in In re Anthem, Inc. Data Breach Litig., No. 15-md-02617 (N.D. Cal.) about the

amount of work done and sizeable lodestar sought by non-leadership firms in the

Anthem fee application. Mr. Canfield and this Court addressed the potential for a

similar issue arising here in the following colloquy:

      Mr. Canfield:       … I can tell you … the surprise that Judge Koh expressed
                          when the fee application in that case came in is not going
                          to occur in this case.

      The Court:          You can be sure of that.

      Mr. Canfield:       And there’s a lot of reasons why, Judge. If you recall in
                          Home Depot, we had a bunch of protocols that we
                          developed. Those protocols required that time be
                          submitted quarterly, that any work [done] by somebody
                          who wasn’t appointed to the PSC had to be approved by
                          lead counsel. … And, apparently, those things weren’t
                          done by Judge Koh. So … you can be assured that that’s
                          not going to happen in this case.

      The Court:          … Mr. Canfield, you’ve been in front of me enough to
                          know that I don’t ever want to have something like that

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                           happen in front of me.

      Mr. Canfield:        You have my personal assurance that if we are appointed
                           it never will, Judge.

Exhibit A, Feb. 9, 2018 Hrg. Tr. at 98-99.1

      The Court took concrete steps to ensure non-leadership firms did not run amok

in its February 12, 2018 order appointing Plaintiffs’ leadership. The order required

all participating firms to keep daily time records and report their time to Co-Lead

Counsel on a monthly basis; directed Co-Lead Counsel to submit these reports to the

Court quarterly for in camera review; and warned that failure to maintain and submit

appropriate time records would be grounds for denying compensation. Doc. 232 at

9-10. Further, reflecting its intent to limit the role of non-leadership firms, the Court

specifically ordered:

      In order for their time and expenses to be compensable, those not
      serving in leadership positions must secure the express authorization
      of Co-Lead Counsel for any projects or work undertaken in this
      litigation.

Id. (emphasis added).

      To implement the Court’s order, Co-Lead Counsel sent a time and billing

protocol to all non-leadership firms, including Sanford, on February 28, 2018.



1
 Exhibits A through H referenced in this motion are attached to the Declaration of
Class Counsel, Exhibit 1 hereto.

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Exhibit B. Co-Lead Counsel described the Court’s concern about excessive billing

by non-leadership firms and stated: “we will strictly adhere to the Court’s directive.”

Id. at 1. To carry out that directive, Co-Lead Counsel told the non-leadership firms

that they “must obtain written approval in advance from Co-Lead Counsel” before

doing any work in the MDL; that simply reporting time did not ensure a firm would

be paid for it; that inappropriate time would be excluded in any fee application; and

that “if you have any doubts about whether your time has been … authorized, please

reach out to us for clarification.” Id. at 1.

      At the time, Co-Lead Counsel were aware that some lawyers—such as

Sanford—had filed dozens of repetitive complaints in federal courts, presumably in

the hope that they would enhance their prospects for a leadership position, and that

these repetitive complaints were of little value to the overall litigation. Ex. 1, ¶ 4.

Consistent with the Court’s directive, Co-Lead Counsel thus included the following

language in the protocol sent to the non-leadership firms:

      Time and expenses incurred prior to the appointment of Co-Lead
      Counsel will be considered for compensation only to the extent they
      contribute to advancement of the litigation as a whole. Time
      investigating or filing serial complaints … should not be submitted
      and will not be considered compensable time.

Ex. B at 3. Accordingly, shortly after Co-Lead Counsel were appointed, Sanford

knew that it would not be compensated for having interviewed thousands of potential


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plaintiffs and filed dozens of complaints around the country and that time relating to

that work should not be included in its billing reports. Ex. 1, ¶ 4.

      B.     Sanford’s Authorized Work and Related Billing

      Sanford, as a non-leadership firm, was restricted to a narrow role in the MDL.

Co-Lead Counsel only authorized Sanford to perform certain discrete tasks relating

to its clients who were selected to serve as class representatives in the consolidated

amended complaint filed after the Court appointed leadership. Ex. 1, ¶ 5. The totality

of its authorized work is described below.

      On February 28, 2018, in preparing the amended complaint, Co-Lead Counsel

made one specific request to Sanford and other non-leadership firms: to identify and

provide information for their existing clients who met certain criteria and were

willing to be named as class representatives in the amended complaint. Ex. 1, ¶ 5 &

Exhibit C. Co-Lead Counsel created an on-line questionnaire for the firms to fill out

and provided a script for use in talking to their clients. Firms were told that the

questionnaire should take less than one hour to complete for each client and that any

time spent vetting clients who did not meet the specified criteria would not be

compensated. In response, Sanford identified seven of its clients who were selected

to serve as class representatives. From then until the litigation concluded, Sanford

was only authorized to respond to a limited number of discrete requests from Co-


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Lead Counsel relating to those clients, such as to send out form document

preservation letters drafted by leadership, help its clients to gather needed documents

and information, and communicate with its clients regarding the progress of the case

and proposed settlement terms. Id. That was it.

      Throughout the litigation, Sanford submitted its time and hourly rates on a

monthly basis to the co-leads, who included the information in their quarterly in

camera filings. As of January 31, 2022, Sanford reported spending a total of 1,213

hours on the case, with a lodestar value of $269,809. Of that time, only 330.1 hours

with a lodestar value of $63,356 were spent after Co-Lead Counsel were appointed.

Ex. 1, ¶ 7. Before filing the fee application, Co-Lead Counsel personally reviewed

the billing records of all participating firms, including Sanford, and excluded time

that was not compensable under the governing court order and protocols. Doc. 858-

1, ¶ 42. Co-Lead Counsel approved nearly all of Sanford’s post-appointment time

but cut much of its pre-appointment time—in particular, pre-appointment time spent

preparing and filing repetitive complaints. However, consistent with its treatment

of other non-leadership firms, pre-appointment time relating to Sanford’s work with

its seven clients, where discernible, was approved as of benefit to the overall

litigation. Sanford’s approved time amounted to 519.8 hours having a lodestar value

of $106,274. See Doc. 858-1 at 84; Ex. 1, ¶ 7.


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      Sanford and other participating firms were told in writing of the specific cuts

that had been made to their time and lodestar amounts on October 4, 2019. Ex. 1, ¶

8. Sanford’s final time and lodestar amounts (as well as those of all other

participating firms) were then filed publicly with the fee application on October 29,

2019. Doc. 858-1 at 84. And this Court approved that time and lodestar in its fee

award. Doc. 1029 at 103-104 (discussing overall time spent on litigation after Co-

Lead Counsel reviewed all time entries).

      C.     Determining Sanford’s Share of the Fee

      Once all objections were resolved on appeal, Co-Lead Counsel allocated this

Court’s fee award to the participating firms based on the value each firm brought to

the case, not a rote lodestar allocation. Ex. 1, ¶ 9. This was the exact allocation

methodology Co-Lead Counsel announced they would use in a billing protocol sent

to the leadership firms in February, 2018 and again in an October 4, 2019 letter sent

to all participating firms, including Sanford:

      If we are fortunate enough to be awarded a fee in this litigation, the
      allocation of the fee among the participating firms will be made by Co-
      Lead Counsel after the fee has been awarded. In allocating any fee, Co-
      Lead Counsel will be guided by the concept that each firm will be
      rewarded for the value it has contributed to the results obtained for our
      clients. While each firm’s lodestar will be a substantial factor in
      determining value, it will not be the only factor. Significant weight will
      be given to factors such as how efficiently a firm has handled its
      responsibilities, the nature of the work that was done, creativity,


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      collegiality, equity, and any other considerations that Co-Lead Counsel
      deem relevant or material.

Exhibit D. Using this standard, Co-Lead Counsel decided that Sanford’s lodestar—

as included in the fee application and approved by the Court—was fair and

reasonable compensation for the value it provided. Many factors supported Co-Lead

Counsel’s decision. Ex. 1, ¶ 9.

      First, Sanford played a minor role by design, consistent with this Court’s

guidance on the involvement of non-leadership firms. The nature of Sanford’s

authorized work was routine, uncomplicated, and limited in scope. The work did

not require any substantial creativity or discretion and was made even easier because

Co-Lead Counsel provided an online questionnaire, standard forms, and scripts for

Sanford to use. Id., ¶ 10.

      Second, there was nothing unique, critical, or indispensable about Sanford’s

contribution, which was akin to the contributions of the 47 other non-leadership

firms. The 45 complaints Sanford prepared and filed pre-appointment added nothing

more to the result than the hundreds of complaints filed by other firms; Sanford’s

complaints, for example, did not introduce any materially novel legal theories,

present any materially new fact patterns, or improve plaintiffs’ settlement leverage.

Moreover, the litigation would have reached the same exact result without the

involvement of Sanford and its clients. The amended complaint named 89 other

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class representatives whose individual claims were sufficient to allow Plaintiffs to

survive a motion to dismiss and induce Equifax to settle the litigation on favorable

terms. Id., ¶ 11.

      Third, consistent with this Court’s directive, Sanford was not assigned any

critical work. That work was done by the appointed leadership. Sanford simply had

nothing to do with the key tasks that drove the successful result for the class, such

as developing strategy, drafting a brief, standing up in court, taking a deposition,

working with the experts hired by Co-Lead Counsel, interacting with defense

counsel or government regulators, negotiating the settlement, designing the notice

and claims program, overseeing settlement administration, or coordinating the work

of the firms that undertook those responsibilities. Id., ¶ 12.

      Fourth, Sanford’s allocation was equitable in comparison with the

contributions of other law firms. The leadership firms were unquestionably entitled

to much larger allocations because of the nature, importance, and scope of the work

they performed; the intensity of their efforts; and the incredible financial risks they

undertook by committing such large resources to the litigation. The value of their

contributions, unlike Sanford’s, vastly exceeded their approved lodestar. Sanford

also was fairly treated in relation to the other non-leadership firms and, in fact,

received the largest allocation of any of them. Id., ¶ 13.


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       In short, in limiting Sanford’s work and its share of the resulting fee, Co-Lead

Counsel carried out the Court’s instruction to restrict the role and lodestar of non-

leadership firms; transparently used the allocation standard that they said they would

from the outset; based their decision on the time records and billing records that

Sanford reported to them; and in accordance with the applicable billing protocol cut

Sanford’s time to exclude unauthorized and unhelpful work, almost all of which was

pre-appointment. Not until years later did Sanford ever complain to Co-Lead

Counsel about its role, the cuts to its time, or the rates used to calculate its lodestar.

Id., ¶ 14.

       D.    Sanford’s Delayed Response to its Fee Allocation

       In January and February 2023, after all appeals had been dismissed and Co-

Lead Counsel had allocated the fee award, participating firms were asked to provide

an IRS Form 1099 and transmittal instructions for payment of their share. Once that

information was received, each firm’s share of the fee was distributed. Sanford has

never provided the requested Form 1099 and wiring instructions. So, its share of the

fee remains in the hands of the settlement administrator. Id., ¶ 15.

       Between February and August 2022, Kevin Sharp, a Sanford partner, had a

few sporadic and casual communications about Sanford’s allocation with Norm

Siegel and Amy Keller, two of the appointed Co-Lead Counsel. While expressing


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some disappointment with Sanford’s share, Mr. Sharp was cordial and appeared to

understand Co-Lead Counsel’s decision.            All that changed dramatically on

November 3, 2022, when Mr. Sharp sent Mr. Siegel a letter accusing Co-Lead

Counsel of “fraud,” “massive self-dealing,” “shenanigans,” “unethical conduct,”

“misleading the Court,” and “a grotesque breach” of their duties in allocating

Sanford’s share of the fee. Id., ¶ 16 & Exhibit E.

        In the letter, Mr. Sharp asserted for the first time that his firm spent more than

3,400 hours on the case having a lodestar value of $1,420,444—roughly three times

the hours and five times the lodestar it had previously reported, and vastly more than

its figures included in the fee application. Mr. Sharp did not contend this newly

disclosed time had been authorized by or properly reported to Co-Lead Counsel and

the Court. Nevertheless, he argued for more money because his firm allegedly

“jump-started” the litigation before MDL leadership was appointed (by interviewing

more than 12,000 potential plaintiffs and filing 45 separate complaints) and had

added     “incredible” value      post-appointment     (by   identifying    seven   class

representatives). Mr. Sharp also argued that Co-Lead Counsel wrongfully induced

his firm (alone among the 60 other participating firms) to report billing rates below

its usual and customary rates and to inappropriately write off much of its pre-

appointment work. Because Sanford’s “true” lodestar was roughly five percent of


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the total collective lodestar, Mr. Sharp claimed entitlement to five percent of the total

fee, i.e. $3,875,000. Ex. 1, ¶ 17 & Exhibit E.

      Co-Lead Counsel rejected Mr. Sharp’s claim in a letter from Mr. Siegel dated

November 21, 2022, explaining that: (1) Sanford had waited too long to complain

because it had known but never complained about its approved lodestar and the

methodology for allocating the fee for more than three years and allocations to the

other participating firms had been distributed eight months earlier; (2) this Court did

not order that firms be paid their lodestar plus the same multiplier, but based the fee

on a percentage of the recovery and left the allocation to Co-Lead Counsel; (3) Co-

Lead Counsel allocated fees based on the value each firm contributed as they had

explained they would do and the value of Sanford’s contribution was relatively

minor;2 (4) Sanford’s pre-appointment work interviewing 12,000 potential plaintiffs

and filing repetitive complaints was unauthorized, unnecessary, and inconsistent

with the governing protocol and order; and (5) the protocol Co-Lead Counsel sent



2
  Mr. Sharp argued in his letter that Sanford’s contribution was “indispensable”
because the firm provided seven plaintiffs for the amended complaint and the claims
of two of those plaintiffs were critical to the prosecution of the case—Brenda King
who allegedly filled a “key” need for an Arkansas plaintiff and Alexander Hepburn
whose credit score fell after the breach. Exhibit E at 2. Neither plaintiff, however,
added anything that other plaintiffs did not. The amended complaint named another
Arkansas plaintiff with the same claims, Doc. 374 at ¶ 19, and many other named
plaintiffs also averred decreased credit scores. Id., ¶¶ 32, 38, 79, 86, 101, 106.

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to the firm at the outset unambiguously set forth the time and billing rates Sanford

should report. Mr. Siegel’s letter concluded with the following statement: “Judge

Thrash maintains jurisdiction over the Settlement, and we suggest that any further

issue related to this matter be directed to him for final resolution.” Ex. 1, ¶ 17 &

Exhibit F.

      Co-Lead Counsel have heard nothing from Sanford for nearly three months

but learned last week from other sources that Sanford sued them in the Chancery

Court of Davidson County, Tennessee on February 6, 2023. Ex. 1, ¶ 19 & Exhibit

G, Exhibit H. In the suit, which as of writing this motion has not yet been served,

Sanford contends Co-Lead Counsel are subject to personal jurisdiction there for

alleged misconduct under Tennessee law in allocating the fee. Specifically, the suit

avers Co-Lead Counsel violated their fiduciary duty by allocating Sanford too little;

Co-Lead Counsel violated a contract implied from this Court’s leadership

appointment order that Sanford be compensated fairly for its pre-appointment time;

Sanford is entitled to more money under the theory of quantum meruit; and Co-Lead

Counsel would be unjustly enriched if allowed to retain fees that in good conscience

belong to Sanford. The suit seeks compensatory damages in excess of $1 million

and unspecified punitive damages, or, alternatively, disgorgement of co-counsel’s

alleged “ill-gotten gains.” Sanford demands a jury trial in Tennessee state court.


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                               LEGAL ARGUMENT

      Setting aside the tenuous jurisdictional basis for hauling Co-Lead Counsel in

this federal MDL before a state court in Tennessee, Sanford’s extensive factual

misrepresentations, and the lack of merit underlying its claims, the suit is little more

than an unabashed attempt to strip this Court of the power to oversee the MDL and

enforce its own orders restricting the work and compensation of non-leadership

firms, and, instead, to substitute a jury’s judgment for that of this Court regarding

the compensability of Sanford’s pre-appointment time—an issue this Court has

already decided. Sanford’s lawsuit thus flies in the face of the MDL process,

longstanding class action jurisprudence, and the Final Judgment and Order in which

this Court explicitly retained jurisdiction over this action and the participating

attorneys for “all matters relating” to the MDL and the settlement. Doc. 957 at 10.

The Tennessee suit thus must not be allowed to proceed.

      A.     The Court Exercised its Discretion to Oversee All Participating
             Counsel and their Compensation and Retains Exclusive
             Jurisdiction to Do So

      Multidistrict litigation proceedings aim “to promote the just and efficient

resolution of related civil actions.” In re Checking Acct. Overdraft Litig., 307 F.R.D.

630, 654 (S.D. Fla. 2015) (internal citations omitted). A transferee court has broad

power to manage and promote the efficient resolution of the type of complex, class



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action litigation at issue in an MDL by virtue of its designation by the Judicial Panel

on Multi-District Litigation, inherent authority, and the Federal Rules of Civil

Procedure. That power authorizes a court to oversee and direct the participating

lawyers through a variety of techniques, including appointing plaintiffs’ leadership

charged with managing other lawyers under their direction, issuing management

orders governing the lawyers’ work and compensation, and approving settlement

agreements and fee awards. See generally, e.g., Id.; Center for Biological Diversity,

Inc. v. BP Am. Prod. Co., 704 F.3d 413, 432 (5th Cir. 2013); Manual for Complex

Litigation (Fourth) §§ 10.22, 14.21-215, 1414.211; C. Wright and A. Miller, Federal

Practice and Procedure § 4221; Fed. R. Civ. Proc. 23(d)(A), (g) and (h).

      Ever since the Equifax MDL was created in December, 2017, this Court has

vigorously exercised its management authority to successfully steer to conclusion

one of the most complex MDLs in history—one involving 148 million class

members and more than 60 participating law firms. In so doing, the Court has kept

a tight rein on plaintiffs’ counsel and limited the role of non-leadership firms to avoid

any issues akin to those that concerned Judge Koh in Anthem, by among other things

holding regular status conferences, ordering that no work be done by non-leadership

firms unless authorized by Co-Lead Counsel, and reviewing plaintiffs’ detailed

billing report each quarter to keep tabs on exactly what was being done.


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      The Court also assessed the value and quantity of the work that was done for

the benefit of the class in reviewing Plaintiffs’ fee application. After this review, the

Court issued a lengthy opinion approving the application that, inter alia, determined

the time reported in the application was reasonable and of benefit to the class and

rejected objections the application suffered from an Anthem problem, namely

inflated time for unhelpful work by non-leadership firms. Doc. 876 at 21-22; Doc.

880 at 22. In so doing, the Court relied in part on the audit done by Co-Lead Counsel

to ensure that all submitted time was appropriate. See Doc. 1029 at 103 (noting that

Co-Lead Counsel excluded time entries that were “inconsistent with the billing

protocol that they established at the outset of the litigation.”)

      In accordance with the Settlement Agreement, the Court left the responsibility

for allocating the fee award to Co-Lead Counsel. See Doc. 739-1, § 11.1 (fees for

“work performed by Class Counsel or other counsel working at their direction” are

to be “distributed as determined by Class Counsel”). At the same time, the Court

retained jurisdiction in the Final Judgment and Order to resolve any disputes

regarding the allocation. Doc. 957 ¶¶ 19, 21 (retaining jurisdiction over parties and

attorneys “for all matters relating to this action, including (without limitation) the

administration, interpretation, effectuation or enforcement of the Settlement

Agreement”); see Giercyk v. National Union Fire Ins. Co. of Pittsburgh, 2018 WL


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1469048, at *2 (D.N.J. Mar. 26, 2018) (retention of jurisdiction over the

implementation of a settlement necessarily includes jurisdiction to resolve

objections to the fee allocation). The Court’s approach also was consistent with the

way fee allocations are routinely handled. See, e.g., In re Vitamins Antitrust Litig.,

308 F. Supp. 2d 209, 222 (D.D.C. 2005) (under the settlement, “Co–Lead Counsel

had broad authority to make the initial allocation of the fee. Once [a firm] objected,

however, Co–Lead Counsel’s decisions became subject to court review to determine

whether Co–Lead Counsel abused their discretion in apportioning the fees in the

manner they did.”)

      Sanford, accordingly, was required to bring any challenge to its fee allocation

to this Court, not another forum. The Court’s retained jurisdiction over all matters

relating to the settlement is not “shared” with a Tennessee state court; it is

“exclusive.” See, e.g., Giercyk, 2018 WL 1469048, at *2; Flanagan v. Arnaiz, 143

F.3d 540, 545 (9th Cir. 1998); United States v. Am. Soc. Of Composers, Authors,

and Publishers, 442 F.2d 601, 603 (2d Cir. 1971). As the Ninth Circuit explained:

“it would make no sense for the district court to retain jurisdiction to interpret and

apply its own judgment … yet have a state court construing what the federal court

meant in the judgment.” Flanagan, at 545.

      Sanford’s Tennessee gambit tries to turn the entire MDL process on its head,


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usurps this Court’s authority, and flies in the face of the Final Judgment in which the

Court retained exclusive jurisdiction over the fee allocation. Sanford’s conduct is

particularly outrageous considering this Court’s explicit efforts to prevent non-

leadership firms from submitting or receiving compensation for bloated time of

relatively little value—precisely what Sanford is seeking in Tennessee. The only

logical conclusion is that Sanford intentionally filed suit in Tennessee because it

knows this Court would not tolerate such blatant violation of its orders and the rules

that governed Sanford’s role and compensation in this MDL. While Sanford may or

may not see the irony, Co-Lead Counsel certainly appreciate that Sanford has

accused them of breaching their fiduciary duty under Tennessee law by doing

exactly what this Court wanted and Mr. Canfield “personally assured” the Court they

would do.

      If Sanford is permitted to seek more money in a state court under the guise

that it is entitled to compensatory and punitive damages from Co-Lead Counsel, the

potential for chaos in this and future MDLs is obvious. Court orders designed to

make an MDL more efficient and ensure that attorneys are compensated reasonably

essentially would be rendered meaningless. Firms aiming for MDL leadership

positions would be incentivized to do as much pre-appointment work as possible,

regardless of its lack of utility and the added burden placed on federal court dockets,


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knowing that even if they do not get what they want in the MDL they can later sue

appointed leadership in state court for compensation. And appointed leadership

would face the prospect of hiring counsel to defend themselves in state courts around

the country and potentially paying damages out of their own pockets if they properly

reject extortionate threats from firms inappropriately demanding more money.

      B.      The Court May Enjoin Sanford’s Conduct Pursuant to the All
              Writs Act.

      The All Writs Act, 28 U.S.C. § 1651(a), authorizes federal courts to “issue all

writs necessary or appropriate in aid of their respective jurisdictions and agreeable

to the usages and principles of law.” The Act affords a court broad power to protect

its existing jurisdiction and prevent frustration of its orders and judgments. United

States v. N.Y. Tel. Co., 434 U.S. 159 (1977); Rohe v. Wells Fargo Bank, N.A., 988

F.3d 1256, 1263 (11th Cir. 2021); Klay v. United Healthgroup, Inc., 376 F.3d 1092,

1099 (11th Cir. 2004).     A court may enjoin almost any conduct that, if left

unchecked, would dimmish its power over pending litigation. See, e.g., Klay at

1102; Love v. Blue Cross and Blue Shield Association, 2021 WL 949940, at *1 (S.D.

Fla. Mar. 12, 2021) (under the All Writs Act, a court may issue an order necessary

to enforce a settlement agreement over which the court has retained jurisdiction).

The traditional four requirements needed to issue an injunction do not apply. Klay

at 1100-01.

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      Where a pending state court proceeding is at issue, a court’s discretion under

the All Writs Act is constrained by the Anti-Injunction Act. 28 U.S.C. § 2283.

However, the Anti-Injunction Act does not bar relief here because the Act explicitly

allows a federal court to enjoin a state court proceeding “where necessary in aid of

its jurisdiction” and “to protect or effectuate its judgments.” See, e.g., In re Bayshore

Ford Truck Sales, Inc., 471 F.3d 1233, 1249 (11th Cir. 2006); Klay at 1104

(“Proceedings in other courts that involve the same facts as already issued judgments

and orders, or that could result in the issuance of an inconsistent judgment, threaten

the jurisdiction of the district court enough to warrant an injunction”); Am. Soc. Of

Composers, Authors, and Publishers, 442 F.2d at 603 (affirming an injunction

stopping a state court proceeding that might interference with distribution of a

federal settlement fund). In fact, in this MDL, the Court has already exercised

jurisdiction under the All Writs Act to enjoin the prosecution of multiple state

lawsuits by class members who improperly opted out of the settlement. (Doc. 1180)

      The Eleventh Circuit, furthermore, recognizes a “complex multi-state

litigation exception” to the Anti-Injunction Act where, as in this case, a state court

proceeding could interfere with a federal court’s handling of complicated litigation

over a period of years and the federal court has retained jurisdiction in its final

judgment. See, e.g., In re Bayshore at 1251-52; Battle v. Liberty National Life


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Insurance Co., 877 F.2d 877 (11th Cir.1989); Wesch v. Folsom, 6 F.3d 1465, 1469

(11th Cir. 1993). Other circuits have reached the same conclusion. See, e.g., In re

American Honda Motor Company, Inc., 315 F.3d 417 (4th Cir.), cert. denied, 540

U.S. 816 (2003); In re Diet Drugs, 282 F.3d 220, 235 (3d Cir. 2002).

      Some courts, moreover, have specifically used their authority under the All

Writs Act to put a stop to efforts like Sanford’s to use a state court action to seek a

larger share of a federal fee award. For example, in Kaplan v. Reed Smith, LLP, 919

F.3d 154, 159 (2d Cir. 2019), a law firm filed a state lawsuit for tortious interference

and unjust enrichment claiming its co-counsel in a federal class action failed to pay

it an agreed-upon share of the fee. The Second Circuit upheld an injunction against

the suit, noting the firm was attempting an “end run” around the district court’s

orders governing the fee. Similarly, in In re Linerboard Antitrust Litig., 361 Fed.

Appx. 392, 394-96 (3d Cir. 2010), the Third Circuit upheld an MDL court’s

authority to enjoin lawyers from challenging their share of a fee allocation in a state

forum because the MDL court retained jurisdiction over such challenges. And, in

Giercyk v. National Union Fire Ins. Co. of Pittsburgh, 2018 WL 1469048, at *1-3,

a New Jersey federal court enjoined a Florida state lawsuit filed by a lawyer who

wanted a larger share of a class action fee, finding that the lawsuit “directly

implicates an unresolved matter over which this Court has exclusive jurisdiction,


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and threatens to frustrate the orderly allocation of attorneys’ fees.”

      For the same reasons, this Court should exercise its authority under the All

Writs Act to enjoin Sanford from pursuing the Tennessee action and precluding

Sanford from attempting to litigate to its share of the Equifax fee in any forum other

than this MDL.

                                   CONCLUSION

      Co-Lead Counsel respectfully request that the Court schedule an immediate

hearing on this motion and, after the hearing, grant their request to permanently

enjoin Sanford from seeking to avoid this Court’s jurisdiction over the allocation of

the Equifax fee award. Co-Lead Counsel do not now seek an award of fees and

expenses from Sanford. However, if Sanford serves the Tennessee complaint,

forcing Co-Lead Counsel to obtain representation in Nashville, or if Sanford pursues

its frivolous claim for more money in this Court, Co-Lead Counsel reserve the right

to ask this Court to compensate them for their time and any resulting out of pocket

costs from Sanford’s share of the Equifax fee that has not yet been distributed.

Dated: February 20, 2023.               Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), the undersigned counsel hereby certifies that

this filing complies with the type-volume limitations set forth in Rule 5.1 of the

Local Rules of the United States District Court for the Northern District of Georgia.

Counsel hereby states that this filing has been typed in Times New Roman 14 font.

      Respectfully submitted, this 20th day of February, 2023.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this date I caused a copy of the foregoing document,

MOTION          FOR       IMMEDIATE             INJUNCTIVE             RELIEF   TO

PREVENT        EVASION         AND      VIOLATION         OF     THIS      COURT’S

JURISDICTION          AND      ORDERS           WITH     SUPPORTING         LEGAL

MEMORANDUM to be served via the Court’s CM/ECF system, which will

automatically send notice of such filing to all attorneys of record.

      Respectfully submitted, this 20th day of February, 2023.

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